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               EXHIBIT B
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Topics as to which Plaintiffs refuse to produce a 30(b)(6) witness:
3. The acts allegedly supporting this Court’s exercise of personal jurisdiction over Defendants in
this case.
10 (rev’d). Defendants’ alleged access of Plaintiffs’ computers, computer systems, and computer
networks, including those located in California.
11 (rev’d). Defendants’ alleged introduction of a computer contaminant into Plaintiffs’
computers, computer systems, and computer networks.
14 (rev’d). The identity and locations of each “computer, computer system, computer network,
computer program, or data” owned or leased by you that you allege was accessed, used, or
altered.
15 (rev’d). The costs, expenses, injury, harm, loss, or damage Plaintiffs suffered as the result of
Defendants’ alleged conduct.*
       *On September 11, 2024, Plaintiffs belatedly agreed to produce a witness to testify about
       “the actions Plaintiffs took, and the time Plaintiffs’ employees spent, responding to NSO’s
       exploit in May 2019.”
16. The factual basis for Plaintiffs’ claims that Defendants caused Plaintiffs to incur “damage”
as used in 18 U.S.C. § 1030(c)(8) and California Penal Code § 502.*
       *On September 11, 2024, Plaintiffs belatedly agreed to produce a witness to testify about
       “the actions Plaintiffs took, and the time Plaintiffs’ employees spent, responding to NSO’s
       exploit in May 2019.”
21 (rev’d). The number of changes made to WhatsApp code to address Vulnerabilities during
each year from 2018- 2020.
23. Defendants’ alleged action with malice and oppression and alleged commission of fraud.
26. WhatsApp’s policies and practices in 2018-present in complying with requests of law
enforcement and/or intelligence agencies with respect to WhatsApp traffic and WhatsApp’s
“willingness to action highly dangerous content.”
29. Plaintiffs’ efforts from 2018-present to address whether WhatsApp’s encrypted platform
hampers efforts to stop crime, terrorism and child exploitation imagery (“CEI”).
32. Plaintiffs’ decision to notify or not notify governments about Plaintiffs’ decision to notify
Target Users about their mobile devices possibly being the subject of an attempt to install
Pegasus.
36. Any efforts by Plaintiffs to attempt to acquire Pegasus or a license to use Pegasus or to
obtain Pegasus code “in the wild.”
40 (rev’d). The alleged “reverse-engineer[ing of] the WhatsApp app” and “emulate[ion of]
legitimate WhatsApp network traffic in order to transmit malicious code.”
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42. Plaintiffs’ enforcement of any of the specific provisions of WhatsApp’s Terms of Service
Plaintiffs alleged were breached by Defendants.
45. Plaintiff’s calculation of each item of “damages” claimed in this action.*
       *On September 11, 2024, Plaintiffs belatedly agreed to produce a witness to testify about
       “the actions Plaintiffs took, and the time Plaintiffs’ employees spent, responding to NSO’s
       exploit in May 2019.”
46. The factual bases for Plaintiffs’ contentions that (a) Plaintiffs’ incurred damages in excess of
$75,000; and (b) such damages were caused by Defendants.*
       *On September 11, 2024, Plaintiffs belatedly agreed to produce a witness to testify about
       “the actions Plaintiffs took, and the time Plaintiffs’ employees spent, responding to NSO’s
       exploit in May 2019.”
47. Your responses and objections to discovery requests directed to you in the Litigation
Defendants’ Interrogatory Nos. 1-5.
48. Your responses and objections to Defendants’ Requests for Admission Nos. 89-100, 104,
108, 112, 116, 120, 124, 128, 132, 136, 140, 145-47, 149-55, 157-71, 173-75, and 179-80.


Topics as to which Plaintiffs agreed to provide 30(b)(6) testimony only for April through
May 2019:
1. Defendants’ alleged purposeful direction of conduct at California, including that “NSO
intentionally targeted and exploited WhatsApp’s . . . infrastructure” in California (as opposed to
any other particular place) and that “NSO . . . contracted with California-based QuadraNet to
lease and knowingly use” a QuadraNet server in California (as opposed to any other particular
place). [Dkt. 55 at 15].
4. The acts through which Defendants allegedly accessed and caused to be accessed a WhatsApp
Signaling Server or Relay Server without authorization or exceeded authorized access to a
WhatsApp Signaling Server or Relay Server and thereby obtained information from any
protected computer.
5. The acts through which Defendants allegedly accessed and caused to be accessed a Target
Device without authorization or exceeded authorized access to a Target Device and thereby
obtained information from any protected computer.
6. The acts through which Defendants allegedly accessed and caused to be accessed (a) Plain-
tiffs’ protected computers and/or (b) Target Devices without authorization, and by means of such
conduct furthered the intended fraud and obtained something of value.
7. The acts through which Defendants allegedly knowingly accessed and without permission
altered and used Plaintiffs’ data, computer, computer system, and computer network to (a) devise
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and execute a scheme and artifice to defraud and deceive, and (b) wrongfully control and obtain
money, property, and data.
8. The acts through which Defendants allegedly knowingly and without permission used and
caused to be used WhatsApp Signaling Servers and Relay Servers, including servers located in
California.
9. The acts through which Defendants allegedly knowingly and without permission provided
and assisted in providing a means of accessing Plaintiffs’ computers, computer systems, and
computer networks, including those located in California.
13. The identity and locations of the WhatsApp computers, computer systems, and/or computer
networks you contend Defendants accessed in violation of 18 U.S.C. § 1030 and Cal. Penal Code
§ 502.
17. Plaintiffs’ closing of any Vulnerability they claim was exploited by Defendants.
18. Plaintiffs’ security testing and analysis of open-source libraries used in WhatsApp software
from 2018-present.
19. Plaintiffs’ process for managing the detection and remediation of Vulnerabilities in relation
to WhatsApp software and systems.
20. Training of WhatsApp developers on secure coding practices, including training certificates
or other certifications for the teams of programmers, developers and engineers that maintain
WhatsApp source code.
24. The source of any Vulnerability(ies) in WhatsApp client code that Plaintiffs contend were
exploited by Defendants, including but not limited to buffer overflow.
25. The source of any Vulnerability(ies) in WhatsApp server code that Plaintiffs contend were
exploited by Defendants, including lax server-side validation.
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     Platforms, Inc.
15

16                               UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18                                      OAKLAND DIVISION
19    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
20                                      )
                                        )             RESPONSES AND OBJECTIONS TO
21                    Plaintiffs,       )             DEFENDANTS’ AMENDED NOTICE OF
                                        )             VIDEORECORDED DEPOSITION PUR-
22           v.                         )             SUANT TO FED. R. CIV. P. 30(B)(6) TO
                                        )             PLAINTIFFS WHATSAPP LLC AND
23    NSO GROUP TECHNOLOGIES LIMITED )                META PLATFORMS, INC.
      and Q CYBER TECHNOLOGIES LIMITED, )
24                                      )             Ctrm:    3
                                        )             Judge:   Hon. Phyllis J. Hamilton
25                    Defendants.       )
                                        )             Action Filed: October 29, 2019
26                                      )
                                        )             Trial Date:   March 3, 2025
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 1          Pursuant to Rules 26 and 30 of the Federal Rules of Civil Procedure, the Northern District of

 2   California’s Local Rules (the “Local Rules”), the Individual Standing Orders of the Honorable Phyl-

 3   lis J. Hamilton (the “Individual Rules”), and any other applicable rules or governing law (“Applicable

 4   Law”), Plaintiffs WhatsApp LLC and Meta Platforms, Inc., by and through their undersigned coun-

 5   sel, hereby respond and object as follows to Defendants’ amended notice of videorecorded deposition

 6   pursuant to Fed. R. Civ. P. 30(b)(6) dated August 13, 2024 (the “Notice”), and the forty-eight matters

 7   for examination (the “Topics”) as set forth below.

 8          Plaintiffs’ responses and objections (the “Responses and Objections”) shall not be deemed to
 9   constitute an admission that any Topic or testimony is relevant, non-privileged, or admissible in ev-
10   idence, or that any statement or characterization in the Notice is accurate or complete. A statement
11   that Plaintiffs will provide testimony in response to a particular request is not to be construed as an
12   admission that any responsive information exists. Plaintiffs reserve all objections as to the admissi-
13   bility at any trial or other proceeding of any testimony provided pursuant to the Notice, including,
14   without limitation, all objections on the grounds that the information is neither relevant to any party’s
15   claim or defense nor proportional to the needs of the case and/or is privileged. Plaintiffs further
16   reserve the right to object on any ground and at any time to a demand for further testimony.
17                                        GENERAL OBJECTIONS

18          Plaintiffs make the following general objections (“General Objections”) to the Topics in

19   Schedule A of the Notice, and incorporate them into Plaintiffs’ responses to each and every Topic

20   (the “Responses”). The failure to mention a General Objection specifically in response to a Topic

21   should not be construed as a waiver of any General Objection.

22          1.      Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to

23   the extent it seeks to impose burdens and obligations on Plaintiffs in addition to, beyond the scope

24   of, or different from those imposed under the Federal Rules, the Local Rules, the Individual Rules,

25   any order issued by the Court in this action, or Applicable Law.

26          2.      Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to

27   the extent it seeks discovery of information that is not relevant to the claims asserted by Plaintiffs or

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   proportional to the needs of the case. Plaintiffs also object to the Notice, and to each Definition and

 2   Topic contained therein, as exceeding the scope of discovery permitted by Rule 26(b)(1) of the Fed-

 3   eral Rules to the extent that the burden or expense imposed by any Topic outweighs the likely benefit.

 4          3.      Plaintiffs object to the taking of the deposition on the date noticed. Plaintiffs will

 5   make a representative(s) available to testify to Defendants’ non-objectionable Topics on a date mu-

 6   tually agreeable to the parties after the parties have had a chance to meet and confer in good faith

 7   about the Topics pursuant to Rule 30(b)(6).

 8          4.      Plaintiffs object to the Notice to the extent that it declares that the deposition “will
 9   continue from day to day until completed,” because, absent stipulation or a court order providing
10   otherwise, Rule 30(d) limits depositions to “one day of 7 hours.” See Fed. R. Civ. P. 30(d)(1).
11          5.      Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to
12   the extent it calls for disclosure of any information protected by the attorney-client privilege, the
13   work-product doctrine, and/or any other applicable privilege, protection, or doctrine. Plaintiffs will
14   withhold from testimony any information covered by those privileges or protections. Any inadvert-
15   ent disclosure of such testimony shall not be deemed, nor shall it constitute, a waiver of any such
16   privilege or protection or of any other ground for objecting to the discovery or admissibility of such
17   material, its subject matter, or the information contained therein, nor shall such disclosure constitute
18   a waiver of Plaintiffs’ rights to object to the use of such testimony during this action or any other

19   proceeding.

20          6.      Any testimony provided by Plaintiffs in response to the Notice and Topics shall be

21   subject to the Stipulated Protective Order dated August 31, 2020 (Dkt. No. 132).

22          7.      Plaintiffs object to the Notice to the extent that the Topics seek testimony about Plain-

23   tiffs’ legal contentions, theories, and interpretations, and thus function as contention interrogatories,

24   which improperly attempt to discover legal conclusions and/or protected information, and are over-

25   broad, inefficient, and unreasonable.

26          8.      Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to

27   the extent that it assumes disputed facts or legal conclusions, or to the extent that it incorporates,

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   references, or relies on factual assumptions or characterizations that are incorrect, speculative, or

 2   unsubstantiated. By responding to the Notice, and to each Definition and Topic contained therein,

 3   Plaintiffs neither admit nor deny any such facts or legal conclusions. To the extent Plaintiffs respond

 4   to any specific Topic, they do so without conceding the materiality, admissibility, or relevance of any

 5   such response or testimony provided in response to that specific Topic.

 6          9.      Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to

 7   the extent that the information sought would be more appropriately addressed through the production

 8   of documents or in written form than by deposition testimony.
 9          10.     Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to
10   the extent it seeks to impose a duty on Plaintiffs to seek out information that is not in its possession,
11   custody, or control or that is outside the knowledge of and not reasonably available to Plaintiffs or
12   its officers, directors, or employees.
13          11.     Plaintiffs object to the Notice, and to each Definition and Topic contained therein, as
14   unduly burdensome to the extent the Notice seeks information that is already in the possession, cus-
15   tody, or control of Defendants or that is equally available or accessible to Defendants and can thus
16   be obtained from a more convenient and less burdensome source. Plaintiffs further object to the
17   Notice to the extent that it is unreasonably cumulative or duplicative of other discovery sought or
18   obtained by Defendants in this matter, or where the information can be derived from documents that

19   have already been produced.

20          12.     Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to

21   the extent that it imposes a duty on Plaintiffs to provide testimony on information that is in the pos-

22   session of Defendants, and as to which discovery has been sought by Plaintiffs and/or ordered by the

23   Court, but which Defendants have failed or refused to produce. Plaintiffs further object to the Notice,

24   and to each Definition and Topic contained therein, to the extent that it seeks information that will

25   be the subject of expert testimony or seeks opinion testimony that would be more appropriately

26   sought through an expert witness.

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1          13.     Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to

 2   the extent it lacks “reasonable particularity” as required by Rule 30(b)(6) or is otherwise vague, am-

 3   biguous, or unclear as to the precise categories of testimony sought, thereby preventing Plaintiffs

 4   from providing testimony in a reasonable manner.

 5          14.     Plaintiffs object to each Topic to the extent that it seeks “all” or “any” facts, circum-

 6   stances, or information that relate to a particular subject, on the grounds that identifying “all” or

 7   “any” facts, circumstances, or information would be unduly burdensome, impractical, and oppressive

 8   and would seek information not relevant to the subject matter of this litigation, not proportional to
 9   the needs of the case, and not otherwise discoverable under the Federal, Local, or Individual Rules.
10          15.     Plaintiffs object to the Notice, and to each Definition and Topic contained therein, to
11   the extent it purports to require a deponent to memorize and recite a voluminous amount of specific
12   factual details, including but not limited to identification of all persons or entities in response to the
13   Topics; the exact dates, authors, addressees, and recipients of each document discussed; each meeting
14   held concerning the subject matters of certain Topics; the substantive content of any such documents
15   or meetings; the contents of all communications or all statements in response to the Topics; and any
16   other specific factual information called for by the Topics.
17          16.     Plaintiffs’ Responses and Objections do not serve as an admission by Plaintiffs that
18   responsive information exists or is relevant, responsive, non-privileged, or admissible as evidence.

19   Nothing in Plaintiffs’ Responses and Objections should be construed as an admission that any state-

20   ment or characterization in the Notice is accurate or complete.

21          17.     These Responses and Objections reflect Plaintiffs’ present knowledge, information,

22   and belief and may be subject to modification based on facts and circumstances that may come to

23   Plaintiffs’ attention, further discovery, or subsequent case developments. Plaintiffs reserve the right

24   to alter, supplement, amend, or otherwise modify their Responses and Objections to the Notice.

25          18.     Subject to the foregoing objections, Plaintiffs are willing to work cooperatively with

26   Defendants for an orderly scheduling of 30(b)(6) deposition(s) of Plaintiffs.

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1             19.    To the extent that Plaintiffs are ultimately required to designate witnesses, and to the

 2   extent that the same witness is designated for testimony as to one or more Topics and/or also is

 3   deposed in his or her individual capacity, Plaintiffs reserve the right to make such witness(es) avail-

 4   able to be deposed only on a single occasion for both individual and representative capacities.

 5             20.    Plaintiffs service of these Responses and Objections is not, and shall not be deemed

 6   to be, a waiver of any right Plaintiffs may have to seek appropriate relief from the Court through a

 7   joint letter, motion for protective order, or otherwise, or to object to particular questions at the dep-

 8   osition, if any, or to instruct the witness not to answer a question.
 9                        RESPONSES AND OBJECTIONS TO SPECIFIC TOPICS

10             Without waiving or otherwise limiting the foregoing General Objections, and expressly re-

11   serving and incorporating each such General Objection, Plaintiffs specifically object and respond to

12   the Definitions and Topics in Schedule A to the Notice as follows:

13   Topic No. 1:

14             Defendants’ alleged purposeful direction of conduct at California, including that “NSO in-

15   tentionally targeted and exploited WhatsApp’s . . . infrastructure” in California (as opposed to any

16   other particular place) and that “NSO . . . contracted with California-based QuadraNet to lease and

17   knowingly use” a QuadraNet server in California (as opposed to any other particular place). [Dkt. 55

18   at 15].

19   Response to Topic No. 1:

20             Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

21   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

22   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

23   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

24   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

25   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

26   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

27   discover legal conclusions and/or protected information, and is overbroad, inefficient, and

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   unreasonable. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs

 2   further object to this Topic to the extent it seeks information already known to Defendants, and not

 3   disclosed to Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testi-

 4   mony protected from disclosure by any privilege or doctrine of immunity including, without limita-

 5   tion, the attorney-client privilege, work product immunity, the joint defense or common interest priv-

 6   ilege, or any other privilege, immunity, or protection.

 7           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 8   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-
 9   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spyware
10   involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, including
11   the contact of such Spyware with California-based infrastructure including a QuadraNet server in
12   California. Any individual designated with respect to such topics will only be made available for
13   deposition once, including to address both the foregoing topics and the witness’s personal knowledge
14   of events relating to this matter.
15   Topic No. 2:
16           The location of all WhatsApp signaling servers and relay servers over which Plaintiffs con-
17   tend Defendants transmitted computer code, the frequency of Defendants’ use of each such server,
18   and whether Defendants had any ability to select which WhatsApp signaling servers and relay servers

19   were used to transmit Defendants’ computer code.

20   Response to Topic No. 2:

21           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

22   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

23   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

24   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

25   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

26   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

27   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

 2   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

 3   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

 4   Plaintiffs in discovery. Plaintiffs further object to this Topic because it calls for testimony so granular

 5   that no witness could be expected to reliably and accurately commit to memory the information re-

 6   quested. Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclo-

 7   sure by any privilege or doctrine of immunity including, without limitation, the attorney-client priv-

 8   ilege, work product immunity, the joint defense or common interest privilege, or any other privilege,
 9   immunity, or protection.
10           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony
11   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-
12   tiffs regarding the general location of WhatsApp signaling servers and relay servers, and whether any
13   California or U.S.-based servers were involved in NSO’s unauthorized access to Plaintiffs’ comput-
14   ers in April and May 2019. Any individual designated with respect to such topics will only be made
15   available for deposition once, including to address both the foregoing topics and the witness’s per-
16   sonal knowledge of events relating to this matter.
17   Topic No. 3:
18           The acts allegedly supporting this Court’s exercise of personal jurisdiction over Defendants

19   in this case.

20   Response to Topic No. 3:

21           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

22   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

23   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

24   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

25   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

26   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

27   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

 2   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

 3   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

 4   Plaintiffs in discovery. Plaintiffs further object to this Topic because, to the extent it seeks any rele-

 5   vant information, it is duplicative of other topics, including Topic No. 1 and Topic No. 2. Plaintiffs

 6   further object to this Topic to the extent it seeks testimony protected from disclosure by any privilege

 7   or doctrine of immunity including, without limitation, the attorney-client privilege, work product

 8   immunity, the joint defense or common interest privilege, or any other privilege, immunity, or pro-
 9   tection.
10              Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
11   this Topic.
12   Topic No. 4:
13              The acts through which Defendants allegedly accessed and caused to be accessed a WhatsApp
14   Signaling Server or Relay Server without authorization or exceeded authorized access to a WhatsApp
15   Signaling Server or Relay Server and thereby obtained information from any protected computer.
16   Response to Topic No. 4:
17              Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
18   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

19   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

20   object to this Topic to the extent that it seeks information that will be the subject of expert testimony

21   or seeks opinion testimony that would be more appropriately sought through an expert witness. Plain-

22   tiffs further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

23   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

24   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

25   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

26   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

27   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

 2   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

 3   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

 4   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 5   privilege, immunity, or protection.

 6           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 7   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 8   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spyware
 9   involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, including
10   the WhatsApp code exploited by NSO. Any individual designated with respect to such topics will
11   only be made available for deposition once, including to address both the foregoing topics and the
12   witness’s personal knowledge of events relating to this matter.
13   Topic No. 5:
14           The acts through which Defendants allegedly accessed and caused to be accessed a Target
15   Device without authorization or exceeded authorized access to a Target Device and thereby obtained
16   information from any protected computer.
17   Response to Topic No. 5:
18           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

19   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

20   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

21   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

22   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

23   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

24   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

25   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

26   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

27   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

 2   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

 3   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 4   privilege, immunity, or protection.

 5           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 6   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 7   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spyware

 8   involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, including
 9   the WhatsApp code exploited by NSO. Any individual designated with respect to such topics will
10   only be made available for deposition once, including to address both the foregoing topics and the
11   witness’s personal knowledge of events relating to this matter.
12   Topic No. 6:
13           The acts through which Defendants allegedly accessed and caused to be accessed (a) Plain-
14   tiffs’ protected computers and/or (b) Target Devices without authorization, and by means of such
15   conduct furthered the intended fraud and obtained something of value.
16   Response to Topic No. 6:
17           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
18   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

19   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

20   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

21   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

22   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

23   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

24   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

25   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

26   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

27   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

 2   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 3   privilege, immunity, or protection.

 4           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 5   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 6   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spyware

 7   involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, including

 8   the WhatsApp code exploited by NSO. Any individual designated with respect to such topics will
 9   only be made available for deposition once, including to address both the foregoing topics and the
10   witness’s personal knowledge of events relating to this matter.
11   Topic No. 7:
12           The acts through which Defendants allegedly knowingly accessed and without permission
13   altered and used Plaintiffs’ data, computer, computer system, and computer network to (a) devise
14   and execute a scheme and artifice to defraud and deceive, and (b) wrongfully control and obtain
15   money, property, and data.
16   Response to Topic No. 7:
17           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
18   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

19   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

20   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

21   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

22   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

23   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

24   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

25   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

26   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

27   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

 2   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 3   privilege, immunity, or protection.

 4              Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 5   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 6   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spyware

 7   involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, including

 8   the WhatsApp code exploited by NSO. Any individual designated with respect to such topics will
 9   only be made available for deposition once, including to address both the foregoing topics and the
10   witness’s personal knowledge of events relating to this matter.
11   Topic No. 8:
12              The acts through which Defendants allegedly knowingly and without permission used and
13   caused to be used WhatsApp Signaling Servers and Relay Servers, including servers located in Cal-
14   ifornia.
15   Response to Topic No. 8:
16              Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
17   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
18   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

19   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

20   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

21   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

22   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

23   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

24   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

25   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

26   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

27   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 2   privilege, immunity, or protection.

 3           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 4   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 5   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spy-

 6   ware involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, includ-

 7   ing the general location of WhatsApp signaling servers and relay servers involved in NSO’s unau-

 8   thorized access to Plaintiffs’ computers in April and May 2019. Any individual designated with
 9   respect to such topics will only be made available for deposition once, including to address both the
10   foregoing topics and the witness’s personal knowledge of events relating to this matter.
11   Topic No. 9:
12           The acts through which Defendants allegedly knowingly and without permission provided
13   and assisted in providing a means of accessing Plaintiffs’ computers, computer systems, and com-
14   puter networks, including those located in California.
15   Response to Topic No. 9:
16           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
17   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
18   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

19   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

20   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

21   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

22   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

23   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

24   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

25   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

26   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

27   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 2   privilege, immunity, or protection.

 3           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 4   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 5   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spy-

 6   ware involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, includ-

 7   ing the WhatsApp code exploited by NSO. Any individual designated with respect to such topics

 8   will only be made available for deposition once, including to address both the foregoing topics and
 9   the witness’s personal knowledge of events relating to this matter.
10   Topic No. 10:
11           The acts through which Defendants allegedly knowingly and without permission accessed
12   and caused to be accessed Plaintiffs’ computers, computer systems, and computer networks, includ-
13   ing those located in California.
14   Response to Topic No. 10:
15           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
16   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
17   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs
18   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

19   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

20   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

21   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

22   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

23   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

24   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

25   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

26   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 2   privilege, immunity, or protection.

 3           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 4   this Topic.

 5   Topic No. 11:

 6           The acts through which Defendants allegedly knowingly introduced a computer contaminant

 7   into Plaintiffs’ computers, computer systems, and computer networks.

 8   Response to Topic No. 11:
 9           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
10   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
11   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs
12   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly
13   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs
14   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,
15   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to
16   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-
17   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object
18   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

19   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

20   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

21   client privilege, work product immunity, the joint defense or common interest privilege, or any other

22   privilege, immunity, or protection.

23           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

24   this Topic.

25   Topic No. 12:

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1           The factual basis for Plaintiffs’ claims of conspiracy to violate 18 U.S.C. § 1030 and/or Cal.

 2   Penal Code § 502 and/or Plaintiffs’ claims of attempt to violate 18 U.S.C. § 1030 and/or Cal. Penal

 3   Code § 502.

 4   Response to Topic No. 12:

 5           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 6   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

 7   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

 8   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly
 9   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs
10   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,
11   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to
12   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-
13   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object
14   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to
15   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected
16   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-
17   client privilege, work product immunity, the joint defense or common interest privilege, or any other
18   privilege, immunity, or protection.

19           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

20   this Topic.

21   Topic No. 13:

22           The identity and locations of the WhatsApp computers, computer systems, and/or computer

23   networks you contend Defendants accessed in violation of 18 U.S.C. § 1030 and Cal. Penal Code §

24   502.

25   Response to Topic No. 13:

26           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

27   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

 2   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

 3   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

 4   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

 5   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

 6   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

 7   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

 8   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to
 9   Plaintiffs in discovery. Plaintiffs further object to this Topic because it calls for testimony so granular
10   that no witness could be expected to reliably and accurately commit to memory the information re-
11   quested. Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclo-
12   sure by any privilege or doctrine of immunity including, without limitation, the attorney-client priv-
13   ilege, work product immunity, the joint defense or common interest privilege, or any other privilege,
14   immunity, or protection.
15           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony
16   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-
17   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spy-
18   ware involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, includ-

19   ing the general location of WhatsApp signaling servers and relay servers, and whether any California

20   or U.S.-based servers were involved in NSO’s unauthorized access to Plaintiffs’ computers in April

21   and May 2019. Any individual designated with respect to such topics will only be made available

22   for deposition once, including to address both the foregoing topics and the witness’s personal

23   knowledge of events relating to this matter.

24   Topic No. 14:

25           The identity and locations of each “computer, computer system, computer network, computer

26   program, or data” of which you contend you are “the owner or lessee” under Cal. Penal Code §

27   502(1)(e).

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   Response to Topic No. 14:

 2           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 3   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

 4   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

 5   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

 6   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

 7   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

 8   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to
 9   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-
10   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object
11   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to
12   Plaintiffs in discovery. Plaintiffs further object to this Topic because it calls for testimony so granular
13   that no witness could be expected to reliably and accurately commit to memory the information re-
14   quested. Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclo-
15   sure by any privilege or doctrine of immunity including, without limitation, the attorney-client priv-
16   ilege, work product immunity, the joint defense or common interest privilege, or any other privilege,
17   immunity, or protection.
18           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

19   this Topic.

20   Topic No. 15:

21           The factual basis for Plaintiffs’ claims that Defendants caused Plaintiffs to incur a “loss” as

22   used in 18 U.S.C. § 1030(c)(11) and California Penal Code § 502.

23   Response to Topic No. 15:

24           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

25   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

26   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

27   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

 2   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

 3   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

 4   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

 5   able. Plaintiffs further object to this Topic to the extent it seeks information already known to De-

 6   fendants, and not disclosed to Plaintiffs in discovery. Plaintiffs further object to the Topic because

 7   it has no temporal scope. Plaintiffs further object to this Topic, as “loss” is not used in 18 U.S.C. §

 8   1030(c)(11), and there is no such provision of the statute. Plaintiffs further object to this Topic to
 9   the extent it seeks testimony protected from disclosure by any privilege or doctrine of immunity
10   including, without limitation, the attorney-client privilege, work product immunity, the joint defense
11   or common interest privilege, or any other privilege, immunity, or protection.
12          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
13   this Topic.
14   Topic No. 16:
15          The factual basis for Plaintiffs’ claims that Defendants caused Plaintiffs to incur “damage”
16   as used in 18 U.S.C. § 1030(c)(8) and California Penal Code § 502.
17   Response to Topic No. 16:
18          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

19   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

20   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

21   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

22   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

23   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

24   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

25   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

26   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

27   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

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                                                        19
     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

 2   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

 3   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 4   privilege, immunity, or protection.

 5           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 6   this Topic.

 7   Topic No. 17:

 8           Plaintiffs’ closing of any Vulnerability they claim was exploited by Defendants.
 9   Response to Topic No. 17:
10           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs further
11   object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly burdensome,
12   or fails to describe with reasonable particularity the matters for examination. Plaintiffs further object
13   to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories, and interpre-
14   tations, and thus functions as a contention interrogatory, which improperly attempts to discover legal
15   conclusions and/or protected information, and is overbroad, inefficient, and unreasonable. Plaintiffs
16   further object to the Topic because it has no temporal scope. Plaintiffs further object to the Topic
17   because it contains numerous terms, such as “Vulnerability” and “exploited,” that are vague and
18   ambiguous. Plaintiffs further object to this Topic to the extent it seeks information already known to

19   Defendants, and not disclosed to Plaintiffs in discovery. Plaintiffs further object to this Topic to the

20   extent it seeks testimony protected from disclosure by any privilege or doctrine of immunity includ-

21   ing, without limitation, the attorney-client privilege, work product immunity, the joint defense or

22   common interest privilege, or any other privilege, immunity, or protection.

23           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

24   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

25   tiffs regarding the May 2019 changes to WhatsApp VOIP calling settings and to the WhatsApp client

26   app in response to the WhatsApp code exploited by NSO that Plaintiffs discovered in April and May

27   2019. Any individual designated with respect to such topics will only be made available for

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   deposition once, including to address both the foregoing topics and the witness’s personal knowledge

 2   of events relating to this matter.

 3   Topic No. 18:

 4           Plaintiffs’ security testing and analysis of open-source libraries used in WhatsApp software

 5   from 2018-present.

 6   Response to Topic No. 18:

 7           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs further

 8   object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly burdensome,
 9   or fails to describe with reasonable particularity the matters for examination. Plaintiffs further object
10   to this Topic because it seeks information across a six-year period, and because it contains numerous
11   terms, such as “security testing and analysis,” “open-source libraries,” and “WhatsApp software” that
12   are vague and ambiguous. Plaintiffs further object to this Topic because it calls for testimony so
13   granular that no witness could be expected to reliably and accurately commit to memory the infor-
14   mation requested. Plaintiffs further object to this Topic to the extent it seeks testimony protected
15   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-
16   client privilege, work product immunity, the joint defense or common interest privilege, or any other
17   privilege, immunity, or protection.
18           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

19   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

20   tiffs regarding Plaintiffs’ general policies and procedures security testing and analysis of open-source

21   libraries used in WhatsApp software as of May 2019. Any individual designated with respect to such

22   topics will only be made available for deposition once, including to address both the foregoing topics

23   and the witness’s personal knowledge of events relating to this matter.

24   Topic No. 19:

25           Plaintiffs’ process for managing the detection and remediation of Vulnerabilities in relation

26   to WhatsApp software and systems.

27   Response to Topic No. 19:

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1             Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs further

 2   object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly burdensome,

 3   or fails to describe with reasonable particularity the matters for examination. Plaintiffs further object

 4   to the Topic because it has no temporal scope. Plaintiffs further object to this topic because it contains

 5   numerous terms, such as “Vulnerabilities” and “WhatsApp software and systems” that are vague and

 6   ambiguous. Plaintiffs further object to this Topic because it calls for testimony so granular that no

 7   witness could be expected to reliably and accurately commit to memory the information requested.

 8   Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclosure by
 9   any privilege or doctrine of immunity including, without limitation, the attorney-client privilege,
10   work product immunity, the joint defense or common interest privilege, or any other privilege, im-
11   munity, or protection.
12             Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony
13   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-
14   tiffs regarding the general policies and procedures for managing the detection and remediation of
15   vulnerabilities in relation to WhatsApp software and systems as of May 2019. Any individual des-
16   ignated with respect to such topics will only be made available for deposition once, including to
17   address both the foregoing topics and the witness’s personal knowledge of events relating to this
18   matter.

19   Topic No. 20:

20             Training of WhatsApp developers on secure coding practices, including training certificates

21   or other certifications for the teams of programmers, developers and engineers that maintain

22   WhatsApp source code.

23   Response to Topic No. 20:

24             Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs further

25   object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly burdensome,

26   or fails to describe with reasonable particularity the matters for examination. Plaintiffs further object

27   to the Topic because it has no temporal scope. Plaintiffs further object to this Topic because it calls

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 1   for testimony so granular that no witness could be expected to reliably and accurately commit to

 2   memory the information requested. Plaintiffs further object to this Topic to the extent it seeks testi-

 3   mony protected from disclosure by any privilege or doctrine of immunity including, without limita-

 4   tion, the attorney-client privilege, work product immunity, the joint defense or common interest priv-

 5   ilege, or any other privilege, immunity, or protection.

 6          Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 7   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 8   tiffs regarding the general policies and procedures regarding training of WhatsApp programmers,
 9   developers, and engineers on secure coding practices as of May 2019. Any individual designated
10   with respect to such topics will only be made available for deposition once, including to address both
11   the foregoing topics and the witness’s personal knowledge of events relating to this matter.
12   Topic No. 21:
13          The number of changes to WhatsApp code caused by discovery of Vulnerabilities imple-
14   mented by WhatsApp per year from 2018-present.
15   Response to Topic No. 21:
16          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
17   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
18   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it seeks

19   information that will be the subject of expert testimony or seeks opinion testimony that would be

20   more appropriately sought through an expert witness. Plaintiffs further object to this Topic because

21   it calls for testimony that is not relevant to any party’s claim or defense nor proportional to the needs

22   of the case. Plaintiffs further object to this Topic to the extent that it is vague and ambiguous, overly

23   broad, or unduly burdensome, or fails to describe with reasonable particularity the matters for exam-

24   ination. Plaintiffs further object to the Topic because it requests information across a six-year period.

25   Plaintiffs further object to this Topic to the extent it asserts that “Vulnerabilities” were “implemented

26   by WhatsApp.” Plaintiffs further object to this Topic to the extent it seeks testimony protected from

27   disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-client

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 1   privilege, work product immunity, the joint defense or common interest privilege, or any other priv-

 2   ilege, immunity, or protection.

 3           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 4   this Topic.

 5   Topic No. 22:

 6           WhatsApp’s advertising of the company as providing a securely encrypted messaging service.

 7   Response to Topic No. 22:

 8           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs further
 9   object to this Topic because it calls for testimony that is not relevant to any party’s claim or defense
10   nor proportional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is
11   vague and ambiguous, overly broad, or unduly burdensome, or fails to describe with reasonable par-
12   ticularity the matters for examination. Plaintiffs further object to the Topic because it has no temporal
13   or geographic scope.
14           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
15   this Topic.
16   Topic No. 23:
17           Defendants’ alleged action with malice and oppression and alleged commission of fraud.
18   Response to Topic No. 23:

19           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

20   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

21   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

22   further object to this Topic to the extent that it is vague and ambiguous, overly broad, or unduly

23   burdensome, or fails to describe with reasonable particularity the matters for examination. Plaintiffs

24   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,

25   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

26   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

27   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

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 1   to this Topic to the extent it seeks information already known to Defendants, and not disclosed to

 2   Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent it seeks testimony protected

 3   from disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-

 4   client privilege, work product immunity, the joint defense or common interest privilege, or any other

 5   privilege, immunity, or protection.

 6           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 7   this Topic.

 8   Topic No. 24:
 9           The source of any Vulnerability(ies) in WhatsApp client code that Plaintiffs contend were
10   exploited by Defendants, including but not limited to buffer overflow.
11   Response to Topic No. 24:
12           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
13   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
14   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs
15   further object to this Topic to the extent that it is vague and ambiguous, overly broad, unduly bur-
16   densome, and without reasonable particularity such that Plaintiffs would not have reasonable notice
17   of the matters to be examined. Plaintiffs further object to the extent that the Topic seeks testimony
18   about Plaintiffs’ legal contentions, theories, and interpretations, and thus functions as a contention

19   interrogatory, which improperly attempts to discover legal conclusions and/or protected information,

20   and is overbroad, inefficient, and unreasonable. Plaintiffs further object to the Topic because it has

21   no temporal scope. Plaintiffs further object to the Topic and because it contains terms such as “Vul-

22   nerabilities,” that are vague and ambiguous. Plaintiffs further object to this Topic to the extent it

23   seeks information already known to Defendants, and not disclosed to Plaintiffs in discovery. Plain-

24   tiffs further object to this Topic to the extent that it suggests that Plaintiffs were the “source” of any

25   Vulnerabilities. Plaintiffs further object to this Topic to the extent it seeks testimony protected from

26   disclosure by any privilege or doctrine of immunity including, without limitation, the attorney-client

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 1   privilege, work product immunity, the joint defense or common interest privilege, or any other priv-

 2   ilege, immunity, or protection.

 3           Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 4   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 5   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spy-

 6   ware involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, includ-

 7   ing the WhatsApp code exploited by NSO. Any individual designated with respect to such topics

 8   will only be made available for deposition once, including to address both the foregoing topics and
 9   the witness’s personal knowledge of events relating to this matter.
10   Topic No. 25:
11           The source of any Vulnerability (ies) in WhatsApp server code that Plaintiffs contend were
12   exploited by Defendants, including lax server-side validation.
13   Response to Topic No. 25:
14           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
15   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
16   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs
17   further object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories,
18   and interpretations, and thus functions as a contention interrogatory, which improperly attempts to

19   discover legal conclusions and/or protected information, and is overbroad, inefficient, and unreason-

20   able. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs further object

21   to the Topic and because it contains terms such as “Vulnerabilities,” that are vague and ambiguous.

22   Plaintiffs further object to this Topic to the extent it seeks information already known to Defendants,

23   and not disclosed to Plaintiffs in discovery. Plaintiffs further object to this Topic to the extent that it

24   suggests that Plaintiffs were the “source” of any Vulnerabilities. Plaintiffs further object to this Topic

25   to the extent it seeks testimony protected from disclosure by any privilege or doctrine of immunity

26   including, without limitation, the attorney-client privilege, work product immunity, the joint defense

27   or common interest privilege, or any other privilege, immunity, or protection.

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 1          Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 2   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-

 3   tiffs as of October 29, 2019 regarding Plaintiffs’ understanding of the operation of the NSO Spy-

 4   ware involved in NSO’s unauthorized access to Plaintiffs’ computers in April and May 2019, includ-

 5   ing the WhatsApp code exploited by NSO. Any individual designated with respect to such topics

 6   will only be made available for deposition once, including to address both the foregoing topics and

 7   the witness’s personal knowledge of events relating to this matter.

 8   Topic No. 26:
 9          WhatsApp’s policies and practices in 2018-present in complying with requests of law en-
10   forcement and/or intelligence agencies with respect to WhatsApp traffic and WhatsApp’s “willing-
11   ness to action highly dangerous content.”
12   Response to Topic No. 26:
13          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
14   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
15   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague
16   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that
17   Plaintiffs would not have reasonable notice of the matters to be examined, including because it has a
18   six-year time period and no geographical scope.

19          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

20   this Topic.

21   Topic No. 27:

22          Plaintiffs’ internal and external statements concerning the WhatsApp Vulnerabilities that

23   were the subject of media attention on or around May 14, 2019.

24   Response to Topic No. 27:

25          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs further

26   object to the Topic because it contains numerous terms, such as “statements,” “Vulnerabilities,” and

27   “media attention” that are vague and ambiguous. Plaintiffs further object to this Topic because it

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 1   calls for testimony so granular that no witness could be expected to reliably and accurately commit

 2   to memory the information requested. Plaintiffs further object to the Topic because it has no temporal

 3   scope. Plaintiffs further object to the Topic because it has no temporal scope. Plaintiffs object to

 4   this Topic to the extent it seeks testimony protected from disclosure by any privilege or doctrine of

 5   immunity including, without limitation, the attorney-client privilege, work product immunity, the

 6   joint defense or common interest privilege, or any other privilege, immunity, or protection.

 7          Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 8   regarding relevant, non-privileged information as to matters known or reasonably available to Plain-
 9   tiffs regarding external statements made to the members of the media regarding NSO’s unauthorized
10   access to Plaintiffs’ computers in April and May 2019. Any individual designated with respect to
11   such topics will only be made available for deposition once, including to address both the foregoing
12   topics and the witness’s personal knowledge of events relating to this matter.
13   Topic No. 28:
14          Plaintiffs’ concerns that media attention on or around May 14, 2019 could delay or impair the
15   launch of WhatsApp Payments in India, Mexico, Indonesia, and Brazil.
16   Response to Topic No. 28:
17          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
18   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

19   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

20   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

21   Plaintiffs would not have reasonable notice of the matters to be examined, including because it con-

22   tains numerous terms, such as “concerns” and “media attention,” that are vague and ambiguous.

23   Plaintiffs object to this Topic to the extent it seeks testimony protected from disclosure by any priv-

24   ilege or doctrine of immunity including, without limitation, the attorney-client privilege, work prod-

25   uct immunity, the joint defense or common interest privilege, or any other privilege, immunity, or

26   protection.

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 1          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 2   this Topic.

 3   Topic No. 29:

 4          Plaintiffs’ efforts from 2018-present to address whether WhatsApp’s encrypted platform

 5   hampers efforts to stop crime, terrorism and child exploitation imagery (“CEI”).

 6   Response to Topic No. 29:

 7          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 8   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
 9   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague
10   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that
11   Plaintiffs would not have reasonable notice of the matters to be examined, including because it has a
12   six-year time period and no geographical scope. Plaintiffs object to this Topic to the extent it seeks
13   testimony protected from disclosure by any privilege or doctrine of immunity including, without
14   limitation, the attorney-client privilege, work product immunity, the joint defense or common interest
15   privilege, or any other privilege, immunity, or protection.
16          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
17   this Topic.
18   Topic No. 30:

19          Plaintiffs’ analysis of the identities of the Target Users, including links to terrorism, sanctions,

20   violent crime, or child exploitation.

21   Response to Topic No. 30:

22          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

23   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

24   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

25   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

26   Plaintiffs would not have reasonable notice of the matters to be examined, including because it has a

27   no temporal scope and no geographical scope. Plaintiffs further object to this Topic because it calls

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 1   for testimony so granular that no witness could be expected to reliably and accurately commit to

 2   memory the information requested. Plaintiffs object to this Topic to the extent it seeks testimony

 3   protected from disclosure by any privilege or doctrine of immunity including, without limitation, the

 4   attorney-client privilege, work product immunity, the joint defense or common interest privilege, or

 5   any other privilege, immunity, or protection.

 6          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 7   this Topic.

 8   Topic No. 31:
 9          Plaintiffs’ notification of the Target Users about their mobile devices possibly being the sub-
10   ject of an attempt to install Pegasus and the decision to notify or not notify any Target Users.
11   Response to Topic No. 31:
12          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
13   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
14   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague
15   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that
16   Plaintiffs would not have reasonable notice of the matters to be examined, including because it has a
17   no temporal scope and no geographical scope. Plaintiffs further object to this Topic because it calls
18   for testimony so granular that no witness could be expected to reliably and accurately commit to

19   memory the information requested. Plaintiffs object to this Topic to the extent it seeks testimony

20   protected from disclosure by any privilege or doctrine of immunity including, without limitation, the

21   attorney-client privilege, work product immunity, the joint defense or common interest privilege, or

22   any other privilege, immunity, or protection.

23          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

24   this Topic.

25   Topic No. 32:

26          Plaintiffs’ decision to notify or not notify governments about Plaintiffs’ decision to notify

27   Target Users about their mobile devices possibly being the subject of an attempt to install Pegasus.

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 1   Response to Topic No. 32:

 2          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 3   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

 4   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

 5   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

 6   Plaintiffs would not have reasonable notice of the matters to be examined, including because it has a

 7   no temporal scope and no geographical scope. Plaintiffs further object to this Topic because it calls

 8   for testimony so granular that no witness could be expected to reliably and accurately commit to
 9   memory the information requested. Plaintiffs object to this Topic to the extent it seeks testimony
10   protected from disclosure by any privilege or doctrine of immunity including, without limitation, the
11   attorney-client privilege, work product immunity, the joint defense or common interest privilege, or
12   any other privilege, immunity, or protection.
13          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
14   this Topic.
15   Topic No. 33:
16          Plaintiffs’ Communications with the United States Department of Justice or Federal Bureau
17   of Investigation or other law enforcement agencies about Defendants and/or Pegasus.
18   Response to Topic No. 33:

19          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

20   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

21   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

22   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

23   Plaintiffs would not have reasonable notice of the matters to be examined, including because it has a

24   no temporal scope and no geographical scope. Plaintiffs further object to this Topic because it calls

25   for testimony so granular that no witness could be expected to reliably and accurately commit to

26   memory the information requested. Plaintiffs object to this Topic to the extent it seeks testimony

27   protected from disclosure by any privilege or doctrine of immunity including, without limitation, the

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 1   attorney-client privilege, work product immunity, the joint defense or common interest privilege, or

 2   any other privilege, immunity, or protection.

 3           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 4   this Topic.

 5   Topic No. 34:

 6           Your Communications with any members or agents of news media regarding material first

 7   published in April 2024 on the Edna Karnaval website regarding NSO’s Communications with the

 8   Government of Israel regarding this Litigation and/or the efforts of the Government of Israel to pro-
 9   tect its national security interest in respect of this Litigation.
10   Response to Topic No. 34:
11           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
12   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
13   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it asserts
14   that “NSO’s Communications with the Government of Israel regarding this Litigation” and “the ef-
15   forts of the Government of Israel” were “to protect its national security interest in respect of this
16   Litigation.” Plaintiffs further object to this Topic because it calls for testimony so granular that no
17   witness could be expected to reliably and accurately commit to memory the information requested.
18   Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclosure by

19   any privilege or doctrine of immunity including, without limitation, the attorney-client privilege,

20   work product immunity, the joint defense or common interest privilege, or any other privilege, im-

21   munity, or protection.

22           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

23   this Topic.

24   Topic No. 35:

25           Any efforts by Plaintiffs to obtain information about users of Plaintiffs’ applications without

26   the knowledge or consent of those users.

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 1   Response to Topic No. 35:

 2          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 3   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

 4   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

 5   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

 6   Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further object

 7   to the Topic because it has no temporal or geographic scope. Plaintiffs further object to this Topic

 8   because it calls for testimony so granular that no witness could be expected to reliably and accurately
 9   commit to memory the information requested. Plaintiffs further object to this Topic to the extent it
10   seeks testimony protected from disclosure by any privilege or doctrine of immunity including, with-
11   out limitation, the attorney-client privilege, work product immunity, the joint defense or common
12   interest privilege, or any other privilege, immunity, or protection.
13          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
14   this Topic.
15   Topic No. 36:
16          Any efforts by Plaintiffs to attempt to acquire Pegasus or a license to use Pegasus or to obtain
17   Pegasus code “in the wild.”
18   Response to Topic No. 36:

19          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

20   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

21   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

22   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

23   Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further object

24   to the Topic because it has no temporal or geographic scope.

25          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

26   this Topic.

27   Topic No. 37:

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 1           Any efforts by Plaintiffs to obtain information about the activities of Plaintiffs’ users on Snap-

 2   chat and other media.

 3   Response to Topic No. 37:

 4           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object

 5   to this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor

 6   proportional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is

 7   vague and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such

 8   that Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further
 9   object to the Topic because it has no temporal or geographic scope. Plaintiffs further object to this
10   Topic because it calls for testimony so granular that no witness could be expected to reliably and
11   accurately commit to memory the information requested. Plaintiffs further object to this Topic to
12   the extent it seeks testimony protected from disclosure by any privilege or doctrine of immunity in-
13   cluding, without limitation, the attorney-client privilege, work product immunity, the joint defense
14   or common interest privilege, or any other privilege, immunity, or protection.
15           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
16   this Topic.
17   Topic No. 38:
18           Plaintiffs’ use of Onavo protect or other spyware owned by Facebook, Inc., to collect data

19   from users.

20   Response to Topic No. 38:

21           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

22   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

23   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

24   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

25   Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further object

26   to the Topic because it has no temporal or geographic scope. Plaintiffs further object to this Topic

27   because it calls for testimony so granular that no witness could be expected to reliably and accurately

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 1   commit to memory the information requested. Plaintiffs further object to this Topic to the extent it

 2   seeks testimony protected from disclosure by any privilege or doctrine of immunity including, with-

 3   out limitation, the attorney-client privilege, work product immunity, the joint defense or common

 4   interest privilege, or any other privilege, immunity, or protection.

 5          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 6   this Topic.

 7   Topic No. 39:

 8          The creation by Plaintiffs or at Plaintiffs’ behest of a Tails exploit to capture Buster Hernan-
 9   dez, aka "BrianKil," as described in https://www.vice.com/en/article/v7gd9b/facebook-helped-fbi-
10   hack-child-predator-buster-hernandez.
11   Response to Topic No. 39:
12          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
13   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
14   portional to the needs of the case. Plaintiffs further object to this Topic because it contains numerous
15   terms, such as “Tails,” “exploit,” and “capture,” that are vague and ambiguous. Plaintiffs further
16   object to this Topic to the extent it seeks testimony protected from disclosure by any privilege or
17   doctrine of immunity including, without limitation, the attorney-client privilege, work product im-
18   munity, the joint defense or common interest privilege, or any other privilege, immunity, or protec-

19   tion. Plaintiffs further object to this Topic because it calls for testimony so granular that no witness

20   could be expected to reliably and accurately commit to memory the information requested.

21          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

22   this Topic.

23   Topic No. 40:

24          The factual basis for Plaintiffs’ contention that Defendants “reverse-engineered the

25   WhatsApp app and developed a program to enable them to emulate legitimate WhatsApp network

26   traffic in order to transmit malicious code.”

27   Response to Topic No. 40:

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 1          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 2   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

 3   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

 4   further object to this Topic to the extent that it is vague and ambiguous, overly broad, unduly bur-

 5   densome, and without reasonable particularity. Plaintiffs further object to the extent that the Topic

 6   seeks testimony about Plaintiffs’ legal contentions, theories, and interpretations, and thus functions

 7   as a contention interrogatory, which improperly attempts to discover legal conclusions and/or pro-

 8   tected information, and is overbroad, inefficient, and unreasonable. Plaintiffs further object to the
 9   Topic because it has no temporal or geographic scope. Plaintiffs further object to this Topic to the
10   extent it seeks information already known to Defendants, and not disclosed to Plaintiffs in discovery.
11   Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclosure by
12   any privilege or doctrine of immunity including, without limitation, the attorney-client privilege,
13   work product immunity, the joint defense or common interest privilege, or any other privilege, im-
14   munity, or protection.
15          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
16   this Topic.
17   Topic No. 41:
18          The process by which users in Israel could accept WhatsApp’s Terms of Service in order to

19   sign up for WhatsApp accounts in 2018, 2019, and 2020, including whether the TOS were required

20   to be opened or read.

21   Response to Topic No. 41:

22          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

23   this Topic to the extent that it is vague and ambiguous, overly broad, unduly burdensome, and without

24   reasonable particularity such that Plaintiffs would not have reasonable notice of the matters to be

25   examined. Plaintiffs further object to this Topic to the extent it seeks information already known to

26   Defendants, and not disclosed to Plaintiffs in discovery.

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1          Subject to and without waiver of the foregoing objections, Plaintiffs will provide testimony

 2   regarding the process by which users in Israel could accept WhatsApp’s Terms of Service in order to

 3   sign up for WhatsApp accounts in 2018, 2019, and 2020. Any individual designated with respect to

 4   such topics will only be made available for deposition once, including to address both the foregoing

 5   topics and the witness’s personal knowledge of events relating to this matter.

 6   Topic No. 42:

 7          Plaintiffs’ enforcement of any of the specific provisions of WhatsApp’s Terms of Service

 8   Plaintiffs alleged were breached by Defendants.
 9   Response to Topic No. 42:
10          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
11   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
12   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague
13   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that
14   Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further object
15   to the Topic because it has no temporal or geographic scope. Plaintiffs further object to this Topic
16   because it calls for testimony so granular that no witness could be expected to reliably and accurately
17   commit to memory the information requested. Plaintiffs further object to this Topic because it calls
18   for testimony so granular that no witness could be expected to reliably and accurately commit to

19   memory the information requested. Plaintiffs further object to this Topic to the extent it seeks testi-

20   mony protected from disclosure by any privilege or doctrine of immunity including, without limita-

21   tion, the attorney-client privilege, work product immunity, the joint defense or common interest priv-

22   ilege, or any other privilege, immunity, or protection.

23          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

24   this Topic.

25   Topic No. 43:

26          Plaintiffs’ awareness that persons can sign up for WhatsApp accounts anonymously, includ-

27   ing by the use of third-party apps to obtain “secondary” or additional phone numbers.

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 1   Response to Topic No. 43:

 2          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 3   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

 4   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

 5   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

 6   Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further object

 7   to the Topic because it has no temporal or geographic scope. Plaintiffs further object to this Topic

 8   to the extent it seeks information already known to Defendants, and not disclosed to Plaintiffs in
 9   discovery. Plaintiffs further object to this Topic because it calls for testimony so granular that no
10   witness could be expected to reliably and accurately commit to memory the information requested.
11   Plaintiffs further object to this Topic to the extent it seeks testimony protected from disclosure by
12   any privilege or doctrine of immunity including, without limitation, the attorney-client privilege,
13   work product immunity, the joint defense or common interest privilege, or any other privilege, im-
14   munity, or protection.
15          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
16   this Topic.
17   Topic No. 44:
18          The extent to which Plaintiffs knew about and acquiesced to private companies’ exploiting

19   of Vulnerabilities in WhatsApp’s system to avert Congress requiring encrypted messaging platforms

20   to provide a “back door” to law enforcement.

21   Response to Topic No. 44:

22          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

23   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

24   portional to the needs of the case. Plaintiffs further object to this Topic to the extent that it is vague

25   and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such that

26   Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further object

27   to the Topic because it has no temporal or geographic scope. Plaintiffs further object to this Topic

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 1   because it calls for testimony so granular that no witness could be expected to reliably and accurately

 2   commit to memory the information requested. Plaintiffs further object to this Topic to the extent it

 3   seeks testimony protected from disclosure by any privilege or doctrine of immunity including, with-

 4   out limitation, the attorney-client privilege, work product immunity, the joint defense or common

 5   interest privilege, or any other privilege, immunity, or protection.

 6          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 7   this Topic.

 8   Topic No. 45:
 9          Plaintiff’s calculation of each item of “damages” claimed in this action.
10   Response to Topic No. 45:
11          Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
12   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks
13   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs
14   further object to this Topic to the extent that it is vague and ambiguous, overly broad, unduly bur-
15   densome, and without reasonable particularity such that Plaintiffs would not have reasonable notice
16   of the matters to be examined. Plaintiffs further object to the extent that the Topic seeks testimony
17   about Plaintiffs’ legal contentions, theories, and interpretations, and thus functions as a contention
18   interrogatory, which improperly attempts to discover legal conclusions and/or protected information,

19   and is overbroad, inefficient, and unreasonable. Plaintiffs further object to this Topic to the extent it

20   seeks testimony protected from disclosure by any privilege or doctrine of immunity including, with-

21   out limitation, the attorney-client privilege, work product immunity, the joint defense or common

22   interest privilege, or any other privilege, immunity, or protection.

23          Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

24   this Topic.

25   Topic No. 46:

26          The factual bases for Plaintiffs’ contentions that (a) Plaintiffs’ incurred damages in excess of

27   $75,000; and (b) such damages were caused by Defendants.

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 1   Response to Topic No. 46:

 2           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

 3   this Topic to the extent that it seeks information that will be the subject of expert testimony or seeks

 4   opinion testimony that would be more appropriately sought through an expert witness. Plaintiffs

 5   further object to this Topic to the extent that it is vague and ambiguous, overly broad, unduly bur-

 6   densome, and without reasonable particularity such that Plaintiffs would not have reasonable notice

 7   of the matters to be examined. Plaintiffs further object to the extent that the Topic seeks testimony

 8   about Plaintiffs’ legal contentions, theories, and interpretations, and thus functions as a contention
 9   interrogatory, which improperly attempts to discover legal conclusions and/or protected information,
10   and is overbroad, inefficient, and unreasonable. Plaintiffs further object to this Topic to the extent it
11   seeks testimony protected from disclosure by any privilege or doctrine of immunity including, with-
12   out limitation, the attorney-client privilege, work product immunity, the joint defense or common
13   interest privilege, or any other privilege, immunity, or protection.
14           Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
15   this Topic.
16   Topic No. 47:
17           Your responses and objections to discovery requests directed to you in the Litigation Defend-
18   ants’ Interrogatory Nos. 1-5.

19   Response to Topic No. 47:

20           Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to

21   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-

22   portional to the needs of the case. Plaintiffs object to this Topic to the extent that it seeks information

23   that will be the subject of expert testimony or seeks opinion testimony that would be more appropri-

24   ately sought through an expert witness. Plaintiffs further object to this Topic to the extent that it is

25   vague and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such

26   that Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further

27   object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories, and

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   interpretations, and thus functions as a contention interrogatory, which improperly attempts to dis-

 2   cover legal conclusions and/or protected information, and is overbroad, inefficient, and unreasonable.

 3   Plaintiffs further object to this Topic because it calls for testimony so granular that no witness could

 4   be expected to reliably and accurately commit to memory the information requested. Plaintiffs fur-

 5   ther object to this Topic to the extent it seeks testimony protected from disclosure by any privilege

 6   or doctrine of immunity including, without limitation, the attorney-client privilege, work product

 7   immunity, the joint defense or common interest privilege, or any other privilege, immunity, or pro-

 8   tection.
 9              Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding
10   this Topic.
11   Topic No. 48:
12              Your responses and objections to Defendants’ Requests for Admission Nos. 89-100, 104, 108,
13   112, 116, 120, 124, 128, 132, 136, 140, 145-47, 149-55, 157-71, 173-75, and 179-80.
14   Response to Topic No. 48:
15              Plaintiffs incorporate their General Objections as if fully set forth herein. Plaintiffs object to
16   this Topic because it calls for testimony that is not relevant to any party’s claim or defense nor pro-
17   portional to the needs of the case. Plaintiffs object to this Topic to the extent that it seeks information
18   that will be the subject of expert testimony or seeks opinion testimony that would be more appropri-

19   ately sought through an expert witness. Plaintiffs further object to this Topic to the extent that it is

20   vague and ambiguous, overly broad, unduly burdensome, and without reasonable particularity such

21   that Plaintiffs would not have reasonable notice of the matters to be examined. Plaintiffs further

22   object to the extent that the Topic seeks testimony about Plaintiffs’ legal contentions, theories, and

23   interpretations, and thus functions as a contention interrogatory, which improperly attempts to dis-

24   cover legal conclusions and/or protected information, and is overbroad, inefficient, and unreasonable.

25   Plaintiffs further object to this Topic because it calls for testimony so granular that no witness could

26   be expected to reliably and accurately commit to memory the information requested. Plaintiffs fur-

27   ther object to this Topic to the extent it seeks testimony protected from disclosure by any privilege

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1   or doctrine of immunity including, without limitation, the attorney-client privilege, work product

 2   immunity, the joint defense or common interest privilege, or any other privilege, immunity, or pro-

 3   tection.

 4              Based on the foregoing objections, Plaintiffs will not provide corporate testimony regarding

 5   this Topic.

 6
      Dated: August 15, 2024                         DAVIS POLK & WARDWELL LLP
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 8
                                                     By: /s/ Micah G. Block
 9                                                       Micah G. Block (SBN 270712)
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                                                           Craig T. Cagney
15                                                         Luca Marzorati
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21
                                                           Attorneys for Plaintiffs WhatsApp LLC and
22                                                         Meta Platforms, Inc.
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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify that I am a citizen of the United States and employed in the County of New

 3   York, New York. I am over the age of 18 years and not a party to the within-entitled action. My

 4   business address is Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York

 5   10017.

 6            On August 15, 2024, I served a true and correct copy of the following document(s) on the

 7   parties in the action addressed as follows:

 8   RESPONSES AND OBJECTIONS TO DEFENDANTS’ NOTICE OF VIDEORECORDED
     DEPOSITION PURSUANT TO FED. R. CIV. P. 30(b)(6) TO PLAINTIFFS WHATSAPP
 9   LLC AND META PLATFORMS, INC.
10
     ☒ (BY ELECTRONIC MAIL) by transmitting via electronic mail document(s) in portable docu-
11
     ment format (PDF) to the email addresses set forth below on this date.
12
      Joseph N. Akrotirianakis
13
      Aaron S. Craig
14    KING & SPALDING LLP
      633 West Fifth Street, Suite 1600
15    Los Angeles, CA 90071
      Telephone: (213) 443-4355
16    Email: jakro@kslaw.com
             acraig@kslaw.com
17

18    Attorneys for Defendants NSO Group
      Technologies Limited and Q Cyber
19    Technologies Limited
20            I declare under penalty of perjury that the above is true and correct.
21
              Executed on August 15, 2024 at Menlo Park, California.
22
                                                           /s/ Luca Marzorati
23                                                         Luca Marzorati

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     RESPONSES AND OBJECTIONS TO DEFS.’ AMENDED NOTICE OF VIDEORECORDED 30(B)(6) DEPOSITION TO PLAINTIFFS
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